                          IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                  STATESVILLE DIVISION
                          CIVIL ACTION NO. 5:20-CV-00192-KDB-SCR

        R.A.,

                Plaintiff,

                v.                                              ORDER

        IREDELL-STATESVILLE
        SCHOOL DISTRICT BOARD OF
        EDUCATION, ET AL.,

                Defendants.



       THIS MATTER is before the Court on Defendants Brady Johnson, Alvera Lesane,

Rhonda McClenahan, and Alisha Cloer (hereinafter “School Officials”)’s Motions to Dismiss

(Doc. Nos. 109, 111). In accordance with the MANDATE of the United States Court of Appeals

for the Fourth Circuit, Doc. No. 144, these Defendants’ Motions to Dismiss are GRANTED, and

Plaintiff’s state law claims against the School Officials are DISMISSED.

       SO ORDERED ADJUDGED AND DECREED.


                             Signed: January 4, 2025




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